           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                             1:07cr15-4

UNITED STATES OF AMERICA                          )
                                                  )
Vs.                                               )               ORDER
                                                  )
DONNA MARIE GOOSSENS.                             )
__________________________________                )

        THIS MATTER is before the court on Warden Ginny Van Buren’s Motion

for Enlargement of Time to Conduct Evaluation. Having considered Warden

Ginny Van Buren’s motion and reviewed the pleadings, the court enters the

following Order.

                                    ORDER

        IT IS, THEREFORE, ORDERED that Warden Ginny Van Buren’s

Motion for Enlargement of Time to Conduct Evaluation (letter request) is

GRANTED, and the Bureau of Prisons is ALLOWED up to and inclusive of

August 20, 2007, to so comply.


                                           Signed: August 13, 2007




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